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                        IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO


 NEW MEXICO HEALTH                              )
 CONNECTIONS,                                   )
                                                )
                        Plaintiff,              )
                                                )
         v.                                     )
                                                        No. 1:18-cv-00773 JB/KBM
                                                )
 UNITED STATES DEPARTMENT OF                    )
 HEALTH AND HUMAN SERVICES,                     )
 et al.,                                        )
                                                )
                        Defendants.             )

                         JOINT MOTION TO STAY PROCEEDINGS

       Plaintiff New Mexico Health Connections (“NMHC”) and Defendants (collectively

“HHS”), by and through their undersigned counsel, respectfully move the Court to stay this case

pending the Court’s resolution of Defendants’ Rule 59(e) motion in New Mexico Health

Connections v. U.S. Dep’t of Health & Human Services, No. 1:16-cv-878 JB/JHR (D.N.M.)

(“NMHC v. HHS I” or “the previous litigation”). See ECF No. 57, NMHC v. HHS I. In support

of the motion, the parties state as follows:

       1.      NMHC v. HHS I asserted Administrative Procedure Act (“APA”) claims regarding

HHS rules establishing the methodology for the risk adjustment program for the 2014–2018 benefit

years. See Am. Compl., ECF No. 21, NMHC v. HHS I. Upon consideration of the parties’ cross-

motions for summary judgment in that case, this Court granted NMHC’s motion for summary

judgment in part and partially vacated the 2014–2018 risk adjustment methodologies. See Mem.

Op. & Order at 82–83, Feb. 28, 2018, ECF No. 55, NMHC v. HHS I. HHS subsequently filed a

motion to alter or amend the judgment pursuant to Federal Rule of Civil Procedure 59(e) and that

motion remains pending before this Court. See ECF No. 57, NMHC v. HHS I.
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        2.      NMHC filed its Complaint in this case on August 13, 2018, asserting claims relating

to HHS’s new rule adopting a methodology for the risk adjustment program for the 2017 benefit

year (the “current 2017 rule”). See Compl., ECF No. 1 (citing 83 Fed. Reg. 36,456 (July 30,

2018)). The current 2017 rule was promulgated after the Court’s partial vacatur of the prior 2017

benefit year risk adjustment methodology in NMHC v. HHS I. Specifically, the current 2017 rule

states that it was issued “to allow charges to be collected and payments to be made for the 2017

benefit year” after the Court had partially vacated the previous methodology pursuant to which

those transfers would be made. See 83 Fed. Reg. at 36,456. NMHC’s Complaint challenges the

current 2017 rule both on the basis that it was not issued pursuant to notice and comment

rulemaking procedures and on the ground that it is substantively unlawful under the APA. See

Compl. ¶¶ 192–208.

        3.      The current 2017 rule at issue in this litigation “adopts the risk adjustment

methodology previously established for the 2017 benefit year,” 83 Fed. Reg. at 36,456, a

methodology that was also challenged in the first case. And the third count of NMHC’s Complaint

challenges the current 2017 rule as arbitrary and capricious and contrary to law under the APA,

just as the previous litigation challenged the prior 2017 rule on the same grounds. Thus, similar

legal issues may be raised in this litigation as in the previous litigation.

        4.      Defendants’ deadline to respond to the Complaint is October 15, 2018.

        5.      Because the underlying legal issues in NMHC v. HHS I are similar to the issues in

this case, their final disposition could have a bearing on the resolution of this case. Accordingly,

the parties agree that a stay of this litigation would be appropriate until the Court decides

Defendants’ Rule 59(e) motion in NMHC v. HHS I.




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       6.      The parties also stipulate that they intend to meet and confer further on the timing

for filing of an administrative record in this case, which the parties intend to do notwithstanding

the existence of any stay of proceedings in this case.

       7.      Accordingly, the parties respectfully request an order providing that:

            a. This case is stayed;

            b. The deadline for Defendants to respond to the Complaint is vacated pending further

               proceedings in NMHC v. HHS I; and

            c. The parties shall file a joint status report within 14 days of the Court’s ruling on

               Defendants’ Rule 59(e) motion in NMHC v. HHS I, ECF No. 57, to propose a

               schedule for further proceedings in this case.

 Dated: October 5, 2018                              Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     DIANE KELLEHER
                                                     Assistant Branch Director

                                                     /s/ James Powers
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 5, 2018, I caused the foregoing document to be served on
counsel for plaintiff by filing with the court’s electronic case filing system.




                                            /s/ James Powers
                                            James R. Powers
